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Exhibit 14
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE NEW ENGLAND COMPOUNDING MDL No. 2419

PHARMACY, INC.
PRODUCTS LIABILITY LITIGATION Dkt. No. 1:13-md-2419 (RW2)

THIS DOCUMENT RELATES TO:

Suits Naming Saint Thomas Outpatient
Neurosurgical Center, LLC

MDL ORDER No. __
BELLWETHER SELECTION AND CASE-SPECIFIC DISCOVERY
FOR THE SAINT THOMAS-RELATED DEFENDANTS

I. Selection of Initial Trial Pool and First Bellwether Trials

Event Deadline

The Parties shall meet and confer regarding whether
bellwether trials are appropriate in this MDL, and if
they cannot agree, the Parties will file briefs outlining
their respective positions for decision by the Court.

If bellwether trials are determined to be appropriate,
the Plaintiffs shall select eight cases and Defendants
shall select eight cases as potential bellwether trial
candidates subject to case-specific discovery (“Initial
Trial Pool Cases”). Initial Trial Pool Case selections
shall be exchanged in writing with opposing counsel.

Only cases involving administration of NECC’s
methylprednisolone acetate from June 1, 2012, to
September 30, 2012, in which a Short Form
Complaint was filed in the MDL are eligible to be
selected as Initial Trial Pool Cases.

After being selected into the Initial Trial Pool, the
Parties shall be permitted to conduct Case-Specific
discovery.’

If any Initial Trial Pool Cases is settled or dismissed
for any reason, with or without prejudice, a
replacement Initial Trial Pool Case shall be selected
by the opposing party to be approved by the Court.

‘A future Case Management Order will address Case-Specific discovery in more detail.

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Four cases shall be selected from the Initial Trial Pool
of 16 for bellwether trials. The Parties will meet and
confer on a process for choosing these four
bellwether trial cases and the first bellwether trial
cases from the Initial Trial Pool Cases.

The Court will select the order in which the first
bellwether trials will be tried and/or remanded and
designate the first cases to be tried and/or remanded.

If not already resolved, the parties will file a Notice of
Position on Venue and Lexecon Inc. v. Milberg Weiss
Bershad Hynes & Lerach, 523 U.S. 26 (1998), with
the Court.

SO ORDERED:

Honorable Rya W. Zobel,
United States District Judge

This the _ day of , 2014

